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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 UNITED STATES OF AMERICA
                                                 Case No. 19 CR 567
             v.
                                                 Honorable Martha M. Pacold
 ROBERT SYLVESTER KELLY,
     also known as “R. Kelly”

 GOVERNMENT’S SUPPLEMENT TO ITS JURISDICTIONAL RESPONSE
    TO DEFENDANT’S EMERGENCY MOTION FOR TEMPORARY
   FURLOUGH (IN RESPONSE TO KELLY’S THIRD SUPPLEMENT

       Robert Kelly has created his own briefing schedule. As anticipated, Kelly has

filed yet a third daily supplement to his motion: (1) unresponsive to the threshold

issue this Court asked the parties to brief of whether this Court had jurisdiction to

entertain Kelly’s motion; (2) absent of any citations to cases, statutes, or rules

indicative of this Court having jurisdiction to entertain Kelly’s motion; (3) ignoring

the briefing schedule and scope of the briefing imposed by this Court on June 11,

2025; and (4) assuming this Court and its staff will de-prioritize other matters

properly brought before this Court so that Kelly can air his grievances from 800 miles

away in a different jurisdiction. If there were a basis for this Court to have jurisdiction

to entertain Kelly’s motion, surely Kelly would have pointed the Court in its direction

by now in his third supplement to his motion. This is the behavior of an abuser and

a master manipulator on display. Kelly is always the victim. 1




1 E.g., https://www.youtube.com/watch?v=pafJHx-o21k (at the 4:55 mark) (Last visited June

16, 2025).
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      Kelly claims with increasing urgency that officials are taking actions against

him that cannot wait and must be brought before this Court on an urgent basis. See

generally Dkt. 491. Has Kelly filed an action in the Eastern District of North Carolina

to enjoin those officials from taking said actions (where that court would have

jurisdiction over them)? Or, did Kelly instead choose to write to let this Court know

that he is “cold” in prison, and to criticize the medical care that he is receiving. Dkt.

491 at 4-5. This Court does not have jurisdiction to afford Kelly the relief that he

seeks. And Kelly knew this since at least July 2023 when this Court denied Kelly’s

previous motion. See Dkt. 445. This Court should not allow Kelly to turn its docket

into a grocery store checkout aisle tabloid.

                                         Respectfully submitted,

                                         ANDREW S. BOUTROS
                                         United States Attorney

                                  By:    /s/ Jason A. Julien
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                          CERTIFICATE OF SERVICE

      I, Jason A. Julien, an attorney, certify that I served a copy of the foregoing
Government’s Supplement to Its Jurisdictional Response to Defendant’s Emergency
Motion for Temporary Furlough (In Response to Kelly’s Third Supplement) by filing
the same using the CM/ECF System, and that a copy will be provided to all parties of
record designated to receive notice.

                                      Respectfully submitted,

                                      ANDREW S. BOUTROS
                                      United States Attorney

                                By:   /s/ Jason A. Julien
                                      JASON A. JULIEN
                                      Assistant United States Attorney
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